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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 16-81871-CIV-MARRA

  LAN LI, an individual, et al,

  Plaintiffs,

  vs.

  JOSEPH WALSH, an individual, et al,

  Defendants.
  _________________________________________/

  KK-PB FINANCIAL, LLC,

  Cross Claimant,

  vs.

  LESLIE ROBERT EVANS & ASSOCIATES, P.A.,
  et al.,

  Cross Defendants,
  __________________________________________/

                                              JUDGMENT

          Judgement is hereby entered on behalf of Leslie Robert Evans & Associates, P.A. and

  Leslie Evans and against KK-PB Financial, LLC, and KK-PB Financial, LLC shall take nothing

  from Leslie Robert Evans & Associates, P.A. and Leslie Evans.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 18th day of February, 2022.




                                                            KENNETH A. MARRA
                                                            United States District Judge
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